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CUET Ne PT/US-08/22/67/2
Cuet oT: ata: 30 August 2022
TravelWorks Inc. OnnatuTb 40: 06 September 2022
501 East Las Olas Blvd Suite 349 .
Fort Lauderdale, FL 33301 Cymma: eter
+17542723415
accounting @travelworks.ru
CueT BbicTaBieH:
Pavel Solovev
HaumMeHoBaHne Eq. u3mMepeHna KonuyectsBo Bantota LleHa Cymma
‘Computer Science BS. CtoumoctTb o6yyeHuaA. NMporpamma 1 USD 34500 78004
Bachelor of Arts in Dance. CtoumocTb o6yyueHuA. Mporpamma 1 USD 34500
TpaH3uT cbopmp! I-20. Yenyra 2 USD 450
Meguuyuckaar CTpaxoBka Ha 12 MecALeB. Yenyra 2 USD 2092
Application/Enrolment fee. Yenyra 2 USD 150
Student services fee. Yenyra 2 USD 1800
Wire transfer fee. Komuccuar 1 USD 20

Utoro: 78004 USD

PekBu3nTbI nnaterKa
Beneficiary name: TRAVELWORKS INC.
Beneficiary bank: Bank of America
Account number: 229058602228 ABA: 026009593 ACH Routing: 063100277 SWIFT code: BOFAUS3N

Ha3Hayeune nnatexKa

Payment for education. Invoice NePT/US—08/22/67/2.

Npumeyanne

All the wire transfers are subject to an extra 20 USD charge upon the invoice total.
